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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
                              MINUTES OF PROCEEDINGS

CAMDEN OFFICE                                                   October 3, 2022
                                                                DATE OF PROCEEDINGS

JUDGE: ROBERT B. KUGLER

COURT REPORTER:          JOHN KURZ

OTHERS: Matthew Hulick and Kimaya Coursey, U.S. Probation

                                                      Docket # CR. 1:19-716-001 (RBK)
TITLE OF CASE:
UNITED STATES OF AMERICA
             vs.
STEVEN MONACO
                 DEFT PRESENT

APPEARANCE:
David Walk, AUSA, and Christina Hud, AUSA, for USA
Rita Glavin, Esq., and Katherine Petrino, Esq., for Defendant

NATURE OF PROCEEDINGS:            SENTENCING HEARING ON INDICTMENT

SENTENCE: Imprisonment for 168 months on each of Counts 1 and 15-22 of the Indictment,
and for a term of 60 months on each of Counts 2-8, 14, and 23 of the Indictment, all such
terms to run concurrently.
SUPERVISED RELEASE: 3 years on each of Counts 1-8 and 14-23 of the Indictment, all
terms to run concurrently.
FINE: waived.
RESTITUTION: $4,692,945.30
SPECIAL ASSESSMENT: $1800.00.

Defendant advised of right to appeal.
Court recommends that the BOP designate defendant to a facility as close as possible to his
home address. Court also recommends that the BOP evaluate defendant for participation in a
drug and alcohol treatment program while incarcerated.
Ordered bail revoked and defendant remanded to the custody of the United States Marshals
Service.

Time commenced: 10:00AM         Time Adjourned: 12:40PM              Total Time: 2:40

                                                                Lawrence MacStravic
cc: Chambers                                                    DEPUTY CLERK
